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                                                      May 25, 2023


By ECF
Hon. Jeremiah J. McCarthy
United States Magistrate Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, NY 14202
               Re:     Bellavia v. Orleans County, et al.
                       Civil Action No. 22-842
Dear Judge McCarthy:
        We represent Plaintiff in the above-referenced matter. We write to bring to your
attention a matter regarding the arrest documents exchanged between the parties in this case.
It has come to our attention that there are slight discrepancies between the documents we
received from the Town of Ridgeway Justice Court, and the documents received by the
Defendants. We are not sure why the Defendants received an additional two pages from the
court. We have mutually agreed that the documents in the Defendants’ possession accurately
represent the correct and complete versions of the documents contained in the criminal file
obtained from the town court.
        Pursuant to the Court’s March 29, 2023 Text Order, now that the parties have confirmed
the completeness and authenticity of the criminal file from the town court, Plaintiff shall file her
motion for leave to file an Amended Complaint within 14 days, after which time Defendants
shall respond 10 days after, and Plaintiff’s reply, if any, shall be filed four days thereafter. We
kindly request the Court’s confirmation and acceptance of this agreement.
        We appreciate the Court’s attention to this matter and stand ready to provide any further
clarification or information as required. Thank you for your understanding and prompt
consideration.
                                                      Respectfully submitted,
                                                       /s/ Nathan D. McMurray
                                                      Nathan D. McMurray


cc:    All Counsel (by ECF)
